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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  In re:                                  )       Chapter 11
                                          )
  BCause Mining LLC,                      )
                                          )       Judge Janet S. Baer
  Debtor/Debtor-in-Possession.            )
                                          )       Case No. 19-10562
                                          )       (Jointly Administered)

                                NOTICE OF MOTION

 TO:       ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on the 21st day of June, 2019, at 9:00 a.m.,
 or soon thereafter as counsel can be heard, I shall appear before the Honorable
 Janet S. Baer, Bankruptcy Judge, in the room usually occupied by him as
 Courtroom 615 in the United States Bankruptcy Court in the Everett McKinley
 Dirksen Federal Building, 219 S. Dearborn Street, Chicago, Illinois, or before any
 other Judge who may be sitting in his place and stead and shall present the Motion
 for Authority to Reject Bandwidth Agreement, a copy of which is attached
 hereto and herewith served upon you, and shall pray for the entry of an Order in
 compliance therewith.

           AT WHICH TIME and place you may appear if you so see fit.

                                                       /s/Scott R. Clar
                                                       Crane, Simon, Clar & Dan
                                                       135 S. LaSalle St., # 3705
                                                       Chicago, Illinois 60603
                                                       (312) 641-6777

                             CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that he
 caused a copy of the foregoing Notice and attached Motion to be served via the
 Court’s Electronic Registration (ECF)/email (as indicated) or First Class U.S. Mail
 (where indicated) on all parties listed on the attached Service List on the 5th day of
 June, 2019.

                                                               /s/Scott R. Clar




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                                    SERVICE LIST

 Via ECF

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 Jmclemore@williamsmullen.com

 Via First Class U.S. Mail
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 PO Box 910182
 Denver, CO 80291-0182




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                   )   Chapter 11
                                          )
 BCause Mining LLC,                       )
                                          )   Judge Janet S. Baer
 Debtor/Debtor-in-Possession.             )
                                          )   Case No. 19-10562
                                          )   Jointly Administered

   MOTION FOR AUTHORITY TO REJECT LEVEL (3) BANDWIDTH AGREEMENT

          BCause LLC, a Virginia limited liability company, debtor/debtor-in-possession

herein (“Debtor”), by and through its attorneys, makes its Motion for Authority to Reject

Master Service Agreement with respect to bandwidth, and more specifically, only the SM

582491 Agreement (“Motion”), pursuant to Section 365(g) of the Bankruptcy Code, and

in support thereof, respectfully states as follows:

                                        Introduction

          1.    On April 12, 2019, the Debtor filed its voluntary petition for relief under

Chapter 11 of the Bankruptcy Code (“Petition Date”).

          2.    The Debtor has been operating its business and managing its financial

affairs as debtor-in-possession since the Petition Date. No trustee, examiner or

committee of unsecured creditors has been appointed in the Debtor’s Chapter 11 case.

          3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections

157 and 1334.

          4.    This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b)(2)(A), (M) and (O).




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      5.     The statutory predicate for the relief requested in this Motion is Section

365(g) of the Bankruptcy Code.

      6.     By this Motion, the Debtor requests that this Court enter an Order

authorizing it to reject a certain bandwidth agreement with Level (3) Communications

LLC/Century Link (the “Century Link Agreement”), known as the SM582491 Agreement

for bandwidth. A copy of a Master Lease Agreement and the SM58249 invoice are

attached hereto as Group Exhibit A. The Debtor is not using the services under this

agreement.

                             Relevant Factual Background

      7.     The Debtor, BCause Mining LLC, is a limited liability company formed in the

Commonwealth of Virginia in 2013. The Debtor, BCause LLC, is a holding company that

wholly owns and is the only member of BCause Mining LLC (“Mining”) (formed in 2017);

BCause Spot LLC (2017); BCause Derivatives LLC (2017); BCause Clear LLC (2017);

BCause Secure LLC (2018); and BCause Trust, Inc. (2018), each also formed in the

Commonwealth of Virginia. Each entity is in good standing in Virginia. The Debtor has

operations in Virginia Beach, VA and in Chicago, IL and employs 27 full-time and 4 part-

time employees.

      8.     The Debtor is building a full-stack cryptocurrency ecosystem which is

intended to be a venue that will serve as a one-stop shop for all parts of the digital

currency value chain. The various subsidiary entities are intended to serve professional

traders, institutional investors, retail traders, and bitcoin miners. No entity other than

Mining and the Debtor are currently operating.




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       9.     The Debtor provides a state of the art mining facility in Virginia Beach,

Virginia, and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago,

Illinois, 60661, and 192 Ballard Court, Virginia Beach, Virginia.

       10.    Both the Debtor and Mining’s Chapter 11 filings were triggered by a

judgment entered in favor of WESCO in the approximate amount of $1,300,000 and a

garnishment of the Debtor’s bank account, from which all of the Debtor’s and Mining’s

bills are paid, including bills for utilities such as Dominion Energy, which had threatened

a shut-off of Mining’s utilities for non-payment, as of April 12, 2019.

                        The Century Link SM582491 Agreement

       11.    On October 24, 2017, the Debtor entered into this Century Link Agreement

for bandwidth services.

       12.    The Debtor is committed to reducing expenditures in its Chapter 11 case,

and as a result, has determined that this particular Century Link Agreement is an

unnecessary expense.

                                     Relief Requested

       13.    The Debtor requests the entry of an order authorizing it to reject the

SM58249 Agreement immediately upon the entry of an order on this Motion.

       14.    Rejection of this Agreement is in the best interest of the Debtor’s estate and

its creditors for the reason that an unnecessary expense will be eliminated.



       WHEREFORE, BCause LLC, a Virginia limited liability company, debtor/debtor-in-

possession, prays for the entry of an order rejecting that certain the Century Link

Agreement between the Debtor and Level (3) Communications LLC dated October 24,



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2017, known as Agreement SM582491, as of the entry of an Order on this Motion, and

granting such other relief as this Court deems just and equitable.

                                                 BCause LLC, a Virginia limited
                                                 liability company,

                                                 By:/s/Scott R. Clar
                                                  One of its Attorneys


DEBTORS’ COUNSEL:
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(Atty. No. 06183741)
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W:\MJO2\BCause LLC\Reject Master Service Agt.mot and NOM




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